









Dismissed and Opinion filed January 30, 2003









Dismissed and Opinion filed January 30, 2003.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-02-01027-CR

____________

&nbsp;

JAMES HENRY PORTER, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 339th District Court

Harris County, Texas

Trial
Court Cause No. 902,879

&nbsp;



&nbsp;

M
E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to the offense of aggravated
robbery.&nbsp; In accordance with the terms of
a plea bargain agreement with the State, on August 30, 2002, the trial court
sentenced appellant to confinement for six years in the Institutional Division
of the Texas Department of Criminal Justice.&nbsp;
Appellant filed a pro se notice of appeal.&nbsp; Because we have no jurisdiction over this
appeal, we dismiss.&nbsp; 








To invoke an appellate court=s jurisdiction over an appeal, an
appellant must give timely and proper notice of appeal.&nbsp; White v. State, 61 S.W.3d 424, 428
(Tex. Crim. App. 2001).&nbsp; Appellant filed a timely general notice of
appeal that did not comply with the requirements of Rule 25.2(b)(3) of the
Texas Rules of Appellate Procedure.&nbsp; See
Tex. R. App. P. 25.2(b)(3).&nbsp; Rule 25.2(b)(3) provides that when an appeal
is from a judgment rendered on a defendant=s plea of guilty or nolo contendere and the
punishment assessed does not exceed the punishment recommended by the State and
agreed to by the defendant, the notice of appeal must do the following:&nbsp; (1) specify that the appeal is for a
jurisdictional defect; (2) specify that the substance of the appeal was raised
by written motion and ruled on before trial; or (3) state that the trial court
granted permission to appeal.&nbsp; Id.&nbsp; Because appellant=s notice of appeal did not comply
with the requirements of Rule 25.2(b)(3), we are without jurisdiction to
consider any of appellant=s issues, including the voluntariness
of the plea.&nbsp; See Cooper v. State,
45 S.W.2d 77, 83 (Tex. Crim. App. 2001) (holding that
appellant who files general notice of appeal may not appeal voluntariness
of negotiated plea).[1]&nbsp; 








The rule does not mean, however, that an appellate court=s jurisdiction is properly invoked by
the filing of a specific notice of appeal complying only in form with the
extra-notice requirements of Rule 25.2(b)(3).&nbsp;
Betz v. State, 36 S.W.3d 227, 228 (Tex. App.CHouston [14th Dist.] 2001, no pet.); Sherman
v. State, 12 S.W.3d 489, 492 (Tex. App.CDallas 1999, no pet.).&nbsp; An appellant must, in good faith, comply in
both form and substance with the extra-notice requirements of the rule. &nbsp;Id.; see Manuel v. State, 994
S.W.2d 658, 662 (Tex. Crim. App. 1999) (stating that
appellant=s general notice of appeal could not
truthfully state that trial court had given permission to appeal).&nbsp; Not only must the specific notice of appeal
recite the applicable extra-notice requirements, the record must substantiate
the recitations in the notice of appeal and the issues raised in the brief must
relate to the specific claims in the notice of appeal.&nbsp; See Betz, 36 S.W.3d at 228-29; Sherman,
12 S.W.3d at 492.&nbsp; Statements required by
the rule to be in the notice of appeal must be true to confer
jurisdiction; mere allegations are not sufficient.&nbsp; Sherman, 12 S.W.3d at 492.&nbsp; (emphasis in the original). 

In this case, the record contains no written motions ruled on
before trial, and it reflects no jurisdictional defects.&nbsp; In addition, the trial court specifically
denied appellant permission to appeal.&nbsp;
Accordingly, appellant cannot amend his notice of appeal to correct its
deficiencies.&nbsp; Cf. Bayless
v. State, No. 56-01, (Tex. Crim. App. Dec. 18,
2002).&nbsp; 

Moreover, appellant waived his right to appeal.&nbsp; As part of the plea bargain agreement,
appellant signed a written waiver of his right to appeal, and the trial court
followed the plea bargain agreement in assessing punishment.&nbsp; Despite having waived the right to appeal,
appellant filed a notice of appeal.&nbsp;
Appellant chose to enter into an agreement that included a waiver of the
right to appeal.&nbsp; Appellant was informed
of his right to appeal, knew with certainty the punishment he would receive,
and that he could withdraw his plea if the trial court did not act in
accordance with the plea agreement.&nbsp; As
appellant was fully aware of the consequences when he waived his right to
appeal, it is Anot unfair to expect him to live with
those consequences now.@ &nbsp;Mabry v. Johnson,
467 U.S. 504, 104 S.Ct. 2543, 2547-48, (1984).&nbsp; See also Blanco v. State, 18 S.W.3d
218, 219-20 (Tex. Crim. App. 2000); Buck v. State,
45 S.W.3d 275, 278 (Tex. App.CHouston [1st Dist.] 2001, no pet.).&nbsp; 

Accordingly, we dismiss the appeal for want of
jurisdiction.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Opinion
filed January 30, 2003.

Panel consists of Chief Justice Brister and Justices Hudson and Fowler.

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;











[1]&nbsp; The notice of appeal in this case was filed prior to
the amendments to the Texas Rules of Appellate Procedure effective January 1,
2003.







